              Case 5:18-cr-00258-EJD Document 1197 Filed 12/13/21 Page 1 of 3




 1 STEPHANIE M. HINDS (CABN 154284)
   Acting United States Attorney
 2
   HALLIE HOFFMAN (CABN 210020)
 3 Chief, Criminal Division

 4 JEFF SCHENK (CABN 234355)
   JOHN C. BOSTIC (CABN 264367)
 5 ROBERT S. LEACH (CABN 196191)
   KELLY I. VOLKAR (CABN 301377)
 6 Assistant United States Attorneys

 7           150 Almaden Boulevard, Suite 900
             San Jose, California 95113
 8           Telephone: (408) 535-5061
             Fax: (408) 535-5066
 9           Email: Robert.Leach@usdoj.gov

10 Attorneys for United States of America

11                                     UNITED STATES DISTRICT COURT

12                                  NORTHERN DISTRICT OF CALIFORNIA

13                                              SAN JOSE DIVISION

14   UNITED STATES OF AMERICA,                          )   Case No. 18-CR-00258 EJD
                                                        )
15           Plaintiff,                                 )   STIPULATION AND [PROPOSED] ORDER
                                                        )   CONTINUING TRIAL DATE AND EXCLUDING
16      v.                                              )   TIME FROM THE SPEEDY TRIAL ACT
                                                        )
17   RAMESH BALWANI,                                    )
                                                        )
18           Defendant.                                 )
                                                        )
19                                                      )

20                                                 STIPULATION
21           1.      This matter is currently set for trial on January 11, 2022.
22           2.      Since August 31, 2021, trial against the co-defendant, Elizabeth Holmes, has been
23 proceeding. The trial was initially scheduled to conclude no later than the first or second week of

24 December 2021. Closing arguments are currently scheduled for December 16 and 17, 2021. It is

25 unknown how long jury deliberations may last.

26           3.      On December 8, 2021, the Court, through its Courtroom Deputy Clerk, indicated it
27 intended to continue the trial to February 15, 2022, and invited the parties to submit a stipulation or

28 schedule a hearing to discuss the matter.

     STIPULATION & [PROPOSED] ORDER,
     CASE NO. CR 18-258 EJD                            1
30
             Case 5:18-cr-00258-EJD Document 1197 Filed 12/13/21 Page 2 of 3




 1          4.      The parties stipulate and agree that, in light of the length of the Holmes trial, the need to

 2 review discovery generated during the Holmes trial, the need for both parties to assess any verdict in the

 3 Holmes trial, the need for resolution of pretrial motions, and other factors, an exclusion of time under the

 4 Speedy Trial Act is appropriate.

 5          5.      The parties stipulate and agree, and respectfully request that the Court order, that

 6 excluding time from January 11, 2022, to February 15, 2022, will allow for the effective preparation of

 7 counsel given the complexity of the case and continuity of counsel. See 18 U.S.C. § 3161(h)(7)(B)(ii) &

 8 (iv). The parties further stipulate and agree, and respectfully request that the Court order, that the ends

 9 of justice served by excluding the time from January 11, 2022, to February 15, 2022, from computation
10 under the Speedy Trial Act outweigh the best interests of the public and the defendant in a speedy trial.

11 18 U.S.C. § 3161(h)(7)(A), (B)(ii) & (iv). The parties stipulate and agree the Court shall enter the

12 proposed order below.

13          IT IS SO STIPULATED.

14 DATED: December 9, 2021                                 Respectfully submitted,

15                                                         ORRICK, HERRINGTON & SUTCLIFFE LLP

16                                                         /s/ Jeffrey B. Coopersmith
                                                           JEFFREY B. COOPERSMITH
17                                                         Attorney for Defendant
                                                           RAMESH “SUNNY” BALWANI
18
     DATED: December 9, 2021                               Respectfully submitted,
19
                                                           STEPHANIE M. HINDS
20                                                         Acting United States Attorney
21
                                                           /s/ Robert S. Leach
22                                                         ROBERT S. LEACH
                                                           JEFF SCHENK
23                                                         JOHN C. BOSTIC
                                                           KELLY VOLKAR
24                                                         Assistant United States Attorneys
25

26

27

28

     STIPULATION & [PROPOSED] ORDER,
     CASE NO. CR 18-258 EJD                            2
30
             Case 5:18-cr-00258-EJD Document 1197 Filed 12/13/21 Page 3 of 3




 1                                           [PROPOSED] ORDER

 2          Based upon the facts set forth in the stipulation of the parties and the representations made to the

 3 Court, and for good cause shown, the trial of this matter currently set for January 11, 2022, shall be

 4 continued to February 15, 2022, at 9:00 a.m. For good cause shown, the Court finds that failing to

 5 exclude the time from January 11, 2022, to February 15, 2022, would unreasonably deny continuity of

 6 counsel and deny counsel the reasonable time necessary for effective preparation, taking into account

 7 the exercise of due diligence and the complexity of the case. 18 U.S.C. § 3161(h)(7)(B)(ii) & (iv). The

 8 Court further finds that the ends of justice served by excluding the time from January 11, 2022, to

 9 February 15, 2022, from computation under the Speedy Trial Act outweigh the best interests of the
10 public and the defendant in a speedy trial. Therefore, and with the consent of the parties, IT IS

11 HEREBY ORDERED that the time from January 11, 2022, to February 15, 2022, shall be excluded

12 from computation under the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(A), (B)(ii) & (iv).

13          IT IS SO ORDERED.

14

15 Dated: December ___, 2021

16                                                              EDWARD J. DAVILA
                                                          UNITED STATES DISTRICT JUDGE
17

18
19

20

21

22

23

24

25

26

27

28

     STIPULATION & [PROPOSED] ORDER,
     CASE NO. CR 18-258 EJD                           3
30
